       Case 3:13-cv-02059-EMC Document 42 Filed 09/17/14 Page 1 of 3



 1   Steven A. Nielsen (CSB #133,864)
     Steve@NielsenPatents.com
 2   ALLMAN & NIELSEN, P.C.
     100 Larkspur Landing Circle, Suite 212
 3   Larkspur, California 94939
     Tel.: (415) 461-2700
 4   Fax: (415) 461-2726

 5   Attorneys for Plaintiff and Counterdefendant,
     IVARSON USA, LLC
 6
 7                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 8                                 SAN FRANCISCO DIVISION
 9
                                                     )
10   IVARSON USA, LLC,                               ) Case No. CV13-02059-EMC
                                                     )
11          Plaintiff /Counterdefendant,             ) STIPULATION OF DISMISSAL AND
                                                     ) [PROPOSED] ORDER THEREON
12        vs.                                        )
                                                     )
13   TRAVELERS CLUB LUGGAGE, INC.,                   )
                                                     )
14          Defendant/Counterclaimant.               )
                                                     )
15                                                   )
                                                     )
16
17
18          The parties, by and through their respective counsel, stipulate to dismissal of this action
19
     in its entirety with prejudice. Outside of the terms of the Settlement Agreement (“Agreement”)
20
     herein, each party is to bear its own costs and attorneys’ fees. The parties further consent to and
21
     request that the Court retain jurisdiction over enforcement of the Agreement.
22
23          Therefore, IT IS HEREBY STIPULATED by and between parties to this action through

24   their designated counsel that the above-captioned action be and hereby is dismissed with
25
     prejudice.
26
            This stipulation may be executed in counterparts, all of which together shall constitute
27
28   one original document.


     IVARSON USA, LLC vs. TRAVELERS CLUB LUGGAGE, INC. CASE NO. CV13-02059-EMC
     Stipulation of Dismissal and [Proposed] Order thereon
       Case 3:13-cv-02059-EMC Document 42 Filed 09/17/14 Page 2 of 3




 1
 2
 3   Dated: Sept. 12, 2014                        ALLMAN & NIELSEN, P.C.

 4                                                By /s/ Steven A. Nielsen
                                                          Steven A. Nielsen
 5
 6                                                Attorneys for Plaintiff and Counterdefendant,
                                                  IVARSON USA, LLC
 7
 8   Dated: Sept. 12, 2014                        TROJAN LAW OFFICES
 9                                                By /s/ R. Joseph Trojan
                                                         R. Joseph Trojan
10
11                                                Attorneys for Defendant and Counterclaimant,
                                                  TRAVELERS CLUB LUGGAGE, INC.
12
13                               ATTESTATION OF E-FILED SIGNATURE
14
            I, Steven A. Nielsen, am the ECF User whose ID and password are being used to file this
15
     Stipulation. In compliance with Civil L.R. 5-1(i)(3), I hereby attest that R. Joseph Trojan has
16
     concurred in this filing.
17
18
     Dated: Sept. 12, 2014                        /s/ Steven A. Nielsen
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     IVARSON USA, LLC vs. TRAVELERS CLUB LUGGAGE, INC. CASE NO. CV13-02059-EMC                         2
      Case 3:13-cv-02059-EMC Document 42 Filed 09/17/14 Page 3 of 3



                                                 ORDER
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          IT IS HEREBY ORDERED that this matter is dismissed with prejudice. IT IS FURTHER
 3
     ORDERED that the Court shall retain jurisdiction for the purposes of enforcing the parties’
 4
 5   Settlement Agreement should such enforcement be necessary.

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 7           9/17
     Dated:__________,2014




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                                            UNIT
 9                                        Honorable Judge
                                                        S S O O
                                                            Edward
                                                  IT I District Judge
                                          United States




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     IVARSON USA, LLC vs. TRAVELERS CLUB LUGGAGE, INC. CASE NO. CV13-02059-EMC                                                             3
